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                                                              May 10, 2022
 VIA EMAIL AND ECF

 The Honorable Tonianne J. Bongiovanni
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

            Re:        UMG Records, Inc., et al. vs. RCN Telecom Services, LLC, et al.
                       Civil Action No. 3:19-cv-17272-MAS-TJB

 Dear Judge Bongiovanni:

         This firm, Jenner & Block LLP, and Stein Mitchell Beato & Missner LLP jointly
 represent Plaintiffs in the above-referenced action. Pursuant to Federal Rule of Civil Procedure
 26(c) and Local Civil Rule 37.1(a)(1), we respectfully request that the Court issue a protective
 order staying all fact depositions in this action until your Honor has determined that Defendants
 RCN Telecom Services, LLC, et al. (“RCN”) have complied with all their document discovery
 obligations in this action. Plaintiffs are very motivated to move this case forward and complete
 discovery as soon as possible. However, RCN is trying to move forward with the depositions it
 wants to take at the same time that it is withholding material evidence that prevents Plaintiffs
 from taking the depositions they want to take. It is only fair that discovery should be conducted
 on an even playing field: a protective order is necessary to prevent RCN from leveraging its
 failure to comply with its discovery obligations into an improper prioritization of the fact
 depositions it wants to take in this case. 1

          The precipitating factor here is that it appears RCN has deployed a strategy to deprive
 Plaintiffs of any relevant documents about the development and implementation of its so-called
 “DMCA Policy,” as well as documents related to its awareness of copyright infringement on its
 network. RCN knows that such documents are critically important to this case. It closely
 monitored two lawsuits brought against Cox Communications based on the same theories of
 liability that Plaintiffs are pursuing against RCN. When those cases proceeded to trial—one in
 2015, one in 2019—Cox’s internal documents on these issues played a prominent role and
 supported the jury verdicts against Cox.

            1
           Plaintiffs met and conferred with RCN about this issue before filing this letter and
 certify that the parties are at an impasse.

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         As a result, RCN developed and implemented a multi-pronged strategy that it hoped
 would enable it to avoid producing any material documents bearing on these issues. Uncovering
 that strategy required Plaintiffs to expend considerable time and resources. See ECF 194 at 4
 (describing Plaintiffs’ efforts); ECF 200 at 3 & n.5 (same). Originally, RCN withheld more than
 1,600 communications about its DMCA Policy, while it produced just 427 internal, non-
 automated communications about any subject matter. See ECF 194 at 9. Plaintiffs eventually
 learned that RCN avoided searching the email files of key witnesses and baselessly withheld
 hundreds of documents ostensibly due to privilege. Plaintiffs have already described these
 efforts to the Court, including the facts that RCN (a) refused to collect documents from its CEO,
 Jim Holanda, even though a third party produced a document from Mr. Holanda demonstrating
 he had nonduplicative relevant documents in his email file; (b) asserted privilege over more than
 100 communications from key RCN witnesses that did not involve any attorneys at all; and (c)
 asserted privilege over more than 600 communications, again from key witnesses, that included
 attorneys who never participated in the relevant discussions. See ECF 194 at 5-13.

         RCN’s subsequent conduct underscores how committed it is to secreting these critical
 documents. Specifically, after the Court ordered RCN to collect, search, and produce Mr.
 Holanda’s emails, RCN has continued to try to hide as many of Mr. Holanda’s relevant
 documents as possible. First, after arguing to the Court that Mr. Holanda was “not involved in
 the DMCA process at RCN and is therefore not an appropriate document custodian,” ECF 197 at
 5, RCN was forced to disclose that Mr. Holanda either sent or received more than 400 responsive
 documents and had bi-weekly phone calls that addressed relevant issues. However, rather than
 produce Mr. Holanda’s documents, RCN again made hundreds of facially baseless privilege
 assertions. Indeed, RCN produced just 10 documents and served a 44-page supplemental
 privilege log withholding more than 400 additional documents in Mr. Holanda’s account. See
 ECF 211 at 2. For hundreds of those documents, RCN appears to concede they are not
 privileged at all, but it continues to withhold them nevertheless. Dozens of other documents
 either did not include any lawyers, included lawyers who never participated in the discussions, or
 were disclosed to third parties. Further, the evidence strongly suggests that RCN’s efforts to
 collect Mr. Holanda’s emails were inadequate, as RCN’s production failed to disclose the very
 email that Plaintiffs invoked to support their application as well as other documents that likely
 exist in Mr. Holanda’s email account.

         These issues are still unresolved. Plaintiffs sent a letter to RCN on April 25, 2022 raising
 their disputes with RCN and seeking to meet and confer about them before presenting them to
 the Court. The parties arranged to meet on May 3, but hours before the meeting, RCN requested
 an adjournment because it was ostensibly still evaluating Plaintiffs’ letter and intended to
 “update” its privilege log and produce “some” additional documents. Plaintiffs agreed to the
 adjournment to give RCN sufficient time and requested that RCN agree to postpone fact
 depositions until these document issues were resolved. RCN refused.



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          While RCN claims still to be considering the issues Plaintiffs raised, it seems inevitable
 that Plaintiffs will be forced to seek the Court’s intervention yet again to ensure that RCN
 complies with its discovery obligations. These delays have prejudiced Plaintiffs’ ability to
 analyze core issues in this case, determine what depositions they seek to take, and prepare for
 those depositions. As noted above, the documents RCN is improperly withholding bear on
 critical issues, which is undoubtedly why RCN is going to such great lengths to conceal them.
 Moreover, those documents involve nearly every potentially relevant RCN witness, making it
 impossible for Plaintiffs to prepare for depositions adequately before those documents are
 produced. In sum, RCN’s efforts to avoid producing all its relevant documents are now
 preventing Plaintiffs from moving this case forward.

         By contrast, it is beyond dispute that Plaintiffs and third parties the Recording Industry
 Association of America (“RIAA”) and Rightscorp Inc. (“Rightscorp”) have completed their
 document discovery obligations.2 As a result, RCN is now in a position to take fact depositions
 and has the temerity to try to take advantage of the inequity in document production by
 aggressively seeking to move forward with its fact depositions while simultaneously preventing
 Plaintiffs from being in a position to pursue depositions of their own. 3

          Accordingly, Plaintiffs respectfully submit that a protective order staying fact depositions
 until the Court determines that RCN has complied with all its document discovery obligations is
 necessary. Good cause exists to issue such an order to prevent RCN from obtaining a de facto
 prioritization of its depositions. Rule 26 has long been designed to facilitate the “alteration in the
 taking of depositions” by all parties based on the assumption that “they bargain on an equal
 footing” in proceeding through discovery. Fed. R. Civ. P. 26, Advisory Committee’s Notes to
 1970 Amendment. However, RCN seeks to upend this balance. Thus, a protective order will do
 nothing more than return the parties to the “equal footing” they would have if RCN had not
 improperly withheld documents and forced Plaintiffs to seek relief from the Court. Any other
 outcome would reward RCN for its misconduct.




           2
         The RIAA and Rightscorp were formerly parties to RCN’s counterclaim in this case.
 However, on April 29, 2022, the district court dismissed that counterclaim with prejudice. See
 ECF 213.
           3
           Before the district court dismissed RCN’s counterclaim, RCN served deposition notices
 on Plaintiffs, the RIAA, and Rightscorp. After the district court’s order, RCN served deposition
 subpoenas on Rightscorp and indicated that it intends to proceed with those depositions now.
 Plaintiffs understand that RCN and Rightscorp dispute the proper number and scope of
 Rightscorp depositions in this action, and Plaintiffs support Rightscorp’s concurrently filed
 application to limit the discovery RCN seeks to take in light of the duplicative nature of the
 testimony RCN seeks and Rightscorp’s proper status as a third party.

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         Thus, for all the reasons stated above, Plaintiffs respectfully request that the Court enter a
 protective order pursuant to Rule 26(c) staying all fact depositions until it has determined that
 RCN’s document production is complete.


                                                       Respectfully submitted,

                                           MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                                        s/ Thomas R. Curtin

                                                        THOMAS R. CURTIN

 cc: All counsel (via ECF and e-mail)




 McElroy, Deutsch, Mulvaney & Carpenter, LLP
